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The

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of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sixth
Appellate District of Texas at Texarkana

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; RAYMOND DEAN LACKEY,
Appellant

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; V.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; THE STATE OF TEXAS, Appellee

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On Appeal from the County Court

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Fannin County, Texas

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Trial
Court No. 44051

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Before Morriss, C.J.,
Carter and Moseley, JJ.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Opinion by Justice Moseley








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; O P I N I O N

&nbsp;

I.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; FACTUAL AND PROCEDURAL
BACKGROUND

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Raymond
Dean Lackey was arrested for driving while intoxicated (DWI) and was
subsequently charged with DWI second offense, a class A misdemeanor.[1]
&nbsp;Prior to trial, Lackey filed a motion to
suppress certain statements he made after his arrest, as well as a motion to
suppress evidence seized in connection with his arrest. &nbsp;These motions were scheduled to be heard by
Fannin County Judge Eileen Cox[2]
at Lackey’s pretrial hearing on December 2, 2009.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Because
Judge Cox was suffering from pneumonia on the date scheduled for hearing, she
was absent from the office.&nbsp; In light of
her absence, Judge Cox proffered an oral motion to appoint John Skotnik, an
attorney practicing law in Bonham, Texas, to act as Fannin County Judge in her
absence.&nbsp; Pursuant to the oral motion of
Judge Cox, an order was entered on December 2, 2009, appointing Skotnik during
Cox’s absence from office:

In my absence from the office on December 2, 2009,
I hereby appoint the Honorable JOHN SKOTNIK, attorney at law, to act for me as
County Judge involving any mental or chemical dependency, criminal, juvenile,
civil or probate matters.

&nbsp;

The order, signed by Cox and
Skotnik, was referred to by Cox as a “general appointment.”&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Neither
Lackey nor his counsel was given notice that Skotnik would be sitting as the judge
for Lackey’s pretrial hearing. &nbsp;Counsel
for Lackey was therefore surprised to find Skotnik on the bench when he arrived
for the hearing.[3]&nbsp; Even so, Lackey did not voice any objection
to Skotnik presiding over the pretrial hearing on December 2, and the hearing
proceeded as scheduled. &nbsp;At the
conclusion of the hearing, Skotnik entered two orders—one denying Lackey’s
motion to suppress statements and the second denying Lackey’s motion to
suppress illegally seized evidence.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
March 3, 2010, Lackey filed a “motion to set aside ‘order denying defendant’s
motion to suppress’” and requested a new hearing on his motion to suppress,[4]
citing Skotnik’s alleged lack of qualification to sit as a visiting judge.&nbsp; Lackey claimed that because Skotnik[5]
never held the office of an elected county or state judge, Skotnik lacked
authority to sit as county judge at his pretrial hearing and lacked authority
to issue the orders which deny suppression of certain statements and
evidence.&nbsp; After his motion was denied,
Lackey entered into a plea agreement whereby he reserved the right to appeal
the issue of Skotnik’s authority to hear and rule on his pretrial motions.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
appeal, Lackey contends the trial court erred in appointing Skotnik to preside
as judge over his pretrial motions pursuant to Section 26.023 of the Texas
Government Code, since Skotnik was not statutorily qualified to sit as a
visiting judge.&nbsp; Tex. Gov’t Code Ann. § 26.023 (Vernon 2004).&nbsp; Consequently, Lackey claims entitlement to a
new hearing on his suppression motions before a duly appointed judge.&nbsp; We agree.

II.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ANALYSIS

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Statutory Application

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Central
to our analysis of the propriety of Skotnik’s appointment is the application of
the correct statute.&nbsp; The parties to this
appeal are in disagreement in regard to this central factor.[6]
Statutory construction is a question of law we review de novo. &nbsp;First
Am. Title Ins. Co. v. Combs, 258 S.W.3d 627, 631 (Tex. 2008).&nbsp; Our primary objective when construing a
statute is to give effect to the Legislature’s intent as expressed in the
statute’s language. &nbsp;Tex. Gov’t Code Ann. §&nbsp;312.005
(Vernon 2005); Combs, 258 S.W.3d at
631–32.&nbsp; When the statutory language is
clear and unambiguous, such language is applied in accordance with its plain
and common meaning. &nbsp;City of Rockwall v. Hughes, 246 S.W.3d 621, 625–26 (Tex. 2008).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
Texas Government Code, subchapter C, Sections 26.021 through 26.028, outlines
procedures for the appointment of a visiting judge for a constitutional county
court, such as Fannin County.&nbsp; Section
26.021 provides that subchapter C applies only to a county in which:

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (1)&nbsp; there is no statutory county court at law or
statutory probate court; and

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (2)&nbsp; all duties of the county court devolve on the
county judge.

&nbsp;

Tex.
Gov’t Code Ann. § 26.021 (Vernon 2004).&nbsp;
Such was the case in Fannin County at all times relevant to this appeal.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
appeal, the State claims that Section 26.022 of the Texas Government Code
applies to the subject appointment.&nbsp;
Section 26.022 provides:

Appointment
for Particular Matters

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (a)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The county judge for good cause may at
any time appoint a visiting judge with respect to any pending civil or criminal
matter.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (b)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The visiting judge may be appointed on
motion of the court or on motion of any counsel of record in the matter.&nbsp; Each counsel of record is entitled to notice
and hearing on the matter.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (c)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; To be appointed a visiting judge, a
person must be agreed on by the counsels of record, if the counsels are able to
agree.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (d)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The motion for appointment and the order
appointing the visiting judge shall be noted on the docket.&nbsp; A written motion or order may be filed among
the papers of the case.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (e)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The visiting judge has the powers of the
county judge in relation to the matter involved.

&nbsp;

Tex.
Gov’t Code Ann. § 26.022 (Vernon 2004).&nbsp;


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
State contends that Section 26.022 provides authority for Skotnik’s
appointment, and indeed is the statute on which said appointment was
based.&nbsp; In support of its position, the
State points to the trial court’s statement that “I would like to put on the
record that good cause was shown at that time that the County Judge was out
with pneumonia at that time.&nbsp; That there
is a motion by -- on the Court’s motion.”&nbsp;
The State argues that if Skotnik was not appointed pursuant to this
section, there would be no requirement for a showing of good cause; conjunctively,
no such appointment could be predicated on a motion.[7]&nbsp; Even if the trial court intended to rely on
this section of the statute, it does not necessarily follow that the trial
court was correct in doing so.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Lackey
maintains that Section 26.022 is not applicable here because the appointment
was necessitated by Judge Cox’s absence “because of physical incapacity” and
the appointment was described by Judge Cox as a “general appointment.”&nbsp; In other words, the appointment was not made
only for a particular matter—Lackey’s pretrial—but for all matters to be heard
by Judge Cox on December 2, 2009.&nbsp; Lackey
maintains that the applicable statute for this appointment is Section 26.023 of
the Texas Government Code, which provides:

Appointment
for Absence of Judge

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (a)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The county judge may appoint a retired
judge or a constitutional county judge from another county as a visiting judge
when the county judge is absent from the county or absent because of physical
incapacity.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (b)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The visiting judge shall sit in all
matters that are docketed on any of the county court’s dockets and has the
powers of the county judge in relation to the matter involved.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (c)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Without the consent of the commissioners
court, visiting judges appointed under this section may not sit for more than
15 working days during a calendar year.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (d)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The order appointing the visiting judge
shall be noted in the docket of the court.

&nbsp;

Tex.
Gov’t Code Ann. § 26.023 (Vernon 2004).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
order purporting to appoint Skotnik states the appointment was made due to
Judge&nbsp;Cox’s “absence from the office.”&nbsp;
As Judge Cox explained, she was suffering from pneumonia on December 2,
2009.&nbsp; Subsection (a) provides that
appointment of a visiting judge is authorized when the county judge is (1)
absent from the county or (2) absent because of physical incapacity.&nbsp; The State maintains Judge Cox was not absent
due to physical incapacity based on the fact that she was able to sign the
order.&nbsp; The phrase “physical incapacity,”
as that term is utilized in Section 26.023(a), is not defined in the statute or
in the caselaw.&nbsp; Nevertheless, we believe
the context in which this term is used was not intended to be narrowly confined
to circumstances in which the judge is so totally and completely physically
incapacitated that he is unable to sign his&nbsp;
name; rather, it is reasonable to conclude that the term “physical
incapacity” includes illness which necessitates absence from the bench.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Here,
Skotnik was appointed to act for Judge Cox as county judge “involving any
mental or chemical dependency, criminal, juvenile, civil or probate matters.”&nbsp; Rather than appointing Skotnik to act in a particular matter, as envisioned by Section
26.022, the order purports to authorize Skotnik to act in any number of matters
that fall within the categories enumerated in the order.&nbsp; Judge Cox aptly referred to the appointment
as a “general appointment.” 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
plain language of each of these sections, taken together, indicates that when a
judicial appointment is made for a particular matter, the parties must be
notified and given the opportunity to agree on the appointment.&nbsp; This procedure logically fits the appointment
to a matter that is made only for the parties thereto.&nbsp; On the other hand, when an appointment is
made because the county judge is absent due to physical incapacity, it would be
burdensome, at best, to notify all parties scheduled to appear in the county
court during the period of said absence—which period may be ill defined—and
unworkable to attempt to have all parties agree to the appointment.&nbsp; In light of the language of the order, the
court’s characterization of same as a “general appointment,”&nbsp; Judge Cox’s absence from the bench due to
physical incapacity, and the language of the statutory provisions in question,
we conclude that Section 26.023 of the Texas Government Code governs the
appointment at issue.&nbsp; Tex. Gov’t Code Ann. § 26.023.&nbsp;&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Section
26.023 explicitly requires the appointment of “a retired judge or a
constitutional county judge from another county . . . .”[8]
&nbsp;Such was not the case here, as Skotnik
was neither a retired judge nor a constitutional county judge from another
county.&nbsp; Tex. Gov’t Code Ann. §&nbsp;26.023(a).&nbsp; Because the appointment did not comport with
the requirements of Section 26.023(a), the appointment was made in the absence
of statutory authority.&nbsp; We, therefore,
must determine, based upon the evident lack of authority, whether the orders
issued by Skotnik are void or merely voidable.&nbsp;
The State contends such analysis is unnecessary because the issue of
Skotnik’s qualifications, not having been raised at the pretrial hearing, is
now waived.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; B.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Waiver
or Void Orders?

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
support of its waiver argument, the State relies on Janecka v. State, 823 S.W.2d 232 (Tex. Crim. App. 1990).&nbsp; In Janecka,
the State failed to object to the appointment of a special master who was to
make findings of fact and conclusions of law at a hearing on remand to
determine whether the rights of the appellant were harmed based on the trial
court’s error in overruling appellant’s motion to quash the indictment.&nbsp; The court determined that because the State
chose to fully participate in the proceeding before the special master without
raising its objection, such failure constituted a waiver of error.&nbsp; Id.
at 244 (op. on reh’g).&nbsp; The trial court
had no statutory authority which would permit it to refer the hearing to a
special master in a case on direct appeal. &nbsp;The State thus contended that the special
master was without authority to preside over the hearing.&nbsp; Id.
at 243.&nbsp; Nevertheless, the Texas Court of
Criminal Appeals determined the State waived its right to complain.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Janecka is unlike this case in that the
trial court adopted the special master’s findings of fact and conclusions of
law.&nbsp; When the findings and conclusions
of a special master are adopted by the trial court, such findings become
conclusive and are the findings of the trial court.&nbsp; See
Lesikar v. Moon, 237 S.W.3d 361, 371 (Tex. App.––Houston [14th Dist.] 2007,
pet. denied). Owens-Corning Fiberglas
Corp. v. Caldwell, 830 S.W.2d 622, 625 (Tex. App.––Houston [1st Dist.]
1991, orig. proceeding).&nbsp; In Janecka, there was no claim that the
trial court was without proper authority to adopt the findings of fact and
conclusions of law at issue.&nbsp;
Accordingly, we do not find Janecka
to govern the issue of whether Lackey waived the right to contest Skotnik’s
authority to rule on the suppression motions.&nbsp;


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Additional
authority relied on by the State in support of its waiver argument is not in
point, simply because, and as the State acknowledges, such authority relates to
the issue of procedural defects in the appointment of a judge.&nbsp; An objection to the procedure involved in
appointing a judge must be made at or prior to the hearing at which the
appointed judge is to preside.&nbsp; Miller v. State, 866 S.W.2d 243, 245–46
(Tex. Crim. App. 1993).&nbsp; That is,
judicial functions resulting in errors involving a violation of a statutory
procedure are not void, but voidable. &nbsp;If
a judge is qualified and not constitutionally or statutorily disqualified, the
judge’s actions are not void although procedural irregularities in the manner
in which the case came before the particular judge may render the conviction
voidable.&nbsp; Davis v. State, 956 S.W.2d 555, 559 (Tex. Crim. App. 1997).&nbsp; Here, we are not faced with an issue of
procedure; rather, we are faced with the issue of the appointed judge’s
authority to act.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
authority of the judge to act is not a jurisdictional issue, per se, as
judicial power is vested in courts, not individuals.&nbsp; Id.&nbsp; As the Davis
court aptly acknowledged, “This is not to say that judicial functions
performed by one without any authority to act may not be void.” &nbsp;Id.&nbsp; Where, for example, a trial judge is
constitutionally or statutorily disqualified to preside over the proceedings, a
conviction is void.&nbsp; Ex parte Seidel, 39 S.W.3d 221, 225 (Tex. Crim. App. 2001) (citing Davis, 956 S.W.2d at 559). 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Davis enumerates a number of
circumstances in which the action of the trial court, done without authority,
is void.&nbsp; For example, in the
circumstance a retired judge was not authorized to preside because there was
nothing in the record to show that the regular judge was absent, disabled, or
disqualified at the time of trial—as required by statute—the conviction was
reversed.&nbsp; Herrod v. State, 650 S.W.2d 814, 817–18 (Tex. Crim. App.
1983).&nbsp; Further, if the trial judge is
related to a party or formerly prosecuted the same case, the judge is
constitutionally disqualified under Article V, Section 11 of the Texas
Constitution.&nbsp; Ex parte Vivier, 699 S.W.2d 862 (Tex. Crim. App. 1985).&nbsp; Likewise, a judge who has not taken the
constitutionally required oath is not qualified.&nbsp; See French
v. State, 572 S.W.2d 934 (Tex. Crim. App. 1977).&nbsp; The actions of a judge without authority are
void if the judge is either disqualified, or is not qualified. &nbsp;Thull v.
State, 963 S.W.2d 879, 881 (Tex. App.––Texarkana 1998, no pet.); see also In re B.F.B., 241 S.W.3d 643, 646 (Tex. App.––Texarkana 2007, no
pet.); Mata v. State, 991 S.W.2d 900,
902 (Tex. App.––Beaumont 1999, pet. ref’d) (citing Davis, 956 S.W.2d at 559).&nbsp;
Otherwise the actions are merely voidable and must have been objected to
in order to be preserved for appeal. &nbsp;Id.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In this case, the
appointed judge had no authority to act because he was not qualified to sit as
a judge of a constitutional county court pursuant to Section 26.023 of the
Texas Government Code.&nbsp; Skotnik was
neither a retired judge nor a constitutional county judge from another county. See Tex.
Gov’t Code Ann. § 26.023.&nbsp; Because
the actions of a judge are void if the judge is not qualified, this case does
not present an issue of waiver. &nbsp;Here,
the authority of the judge to act as such cannot be waived—just as the subject-matter
jurisdiction of a court cannot be waived.&nbsp;
Hubenak v. San Jacinto Gas
Transmission Co., 141 S.W.3d 172, 181 (Tex. 2004) (subject-matter jurisdiction
cannot be waived).&nbsp; Likewise, just as
subject-matter jurisdiction cannot be conferred on a court by the consent of
the parties, a judge cannot be qualified to act as such by the consent of the
parties.&nbsp; See Juarez v. Tex. Ass’n of
Sporting Officials El Paso Chapter, 172 S.W.3d 274, 278 (Tex. App.––El Paso
2005, no pet.) (subject-matter jurisdiction cannot be conferred by consent).
The authority of the judge to act, in this case, is derived from statute.&nbsp; See
Tex. Gov’t Code Ann. §&nbsp;26.023.&nbsp; Mere silence by a party or even active
participation in a hearing cannot waive the issue of the authority of the judge
to so act, nor can it serve to vest a judge with authority to act.&nbsp; 

III.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; CONCLUSION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Lackey’s
participation in the pretrial hearing conducted by Skotnik, without objection,
does not act as a waiver of his right to now contest the validity of the orders
entered at that hearing.&nbsp; Because Skotnik
was without authority to enter the orders denying Lackey’s suppression motions,
such orders are void.&nbsp; Accordingly, the
trial court erred in denying Lackey’s motion to set aside the void orders and
in failing to grant a new hearing on the suppression motions.&nbsp; Lackey is entitled to have both such orders
set aside and is further entitled to a new hearing on each such motion.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We reverse the judgment and remand to
the trial court for further proceedings in accordance with this opinion.&nbsp; 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Bailey
C. Moseley

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice

&nbsp;

Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; August 18, 2010

Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; September 1, 2010

&nbsp;

Publish

&nbsp;











[1]Tex. Penal Code Ann. § 49.04 (Vernon
2003), § 49.09 (Vernon Supp. 2009).&nbsp; We
note the information in this case identifies the Texas Penal Code provisions as
Sections 49.04 and 49.08.&nbsp; This latter
section has to do with intoxication manslaughter, and was evidently a
typographical error in the information.&nbsp; 

&nbsp;





[2]On
June 7, 2010, the Honorable Joe Moss was sworn in as the first judge of the
newly established statutory County Court in Fannin County.&nbsp; Prior to that time, however, Fannin County
was served only by a constitutional county court, the current judge of which
court is the Honorable Eileen Cox. 

&nbsp;





[3]There
was no notice of a hearing in regard to the appointment or selection of
Skotnik, and Lackey did not agree to have Skotnik sit as the judge on his
case.&nbsp; 

&nbsp;





[4]While
this motion generically refers to the “motion to suppress,” it is clear from
the context of the record that Lackey complains of the rulings both on the
motion to suppress statements and the motion to suppress evidence seized at the
time of his arrest.&nbsp; 

&nbsp;





[5]Moss,
the newly appointed judge for the statutory County Court in Fannin County,
testified at the hearing on Lackey’s motion to set aside Skotnik’s orders. Moss
has never known Skotnik to be an elected judge—at the state or county level—since
the year he was licensed to practice law in 1985.&nbsp; Skotnik sits as a municipal judge for the
City of Bonham.&nbsp; 

&nbsp;





[6]The
trial court did not indicate which provision of the Texas Government Code it
relied on for issuance of the order of appointment.





[7]The
State outlines the manner in which it contends the trial court complied with
each subsection of Section 26.022.&nbsp; The
State further contends that this section of the Texas Government Code does not
require that a visiting judge be a retired judge or an elected judge at any
level in this State.&nbsp; Because we find
that Section 26.022 is not applicable to the appointment here, we do not
address the issue of whether the appointment was in compliance with this
section.&nbsp; Tex. Gov’t Code Ann. § 26.022.&nbsp; 





[8]A
retired judge “means . . . a retiree . . . or a person who served as an active
judge for at least 96 months in a statutory probate or statutory county court
and has retired under the Texas County and District Retirement System.”&nbsp; Tex.
Gov’t Code Ann. § 74.041(6) (Vernon 2005).







